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                 UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                                 iiTk'FJoj
RODNEY LORENZO SCOTT,                )



                                     )



      Movant,                        )



                                     )



V.                                   )                 CV615-106
                                     )                 CR612-018
UNITED STATES OF AMERICA,            )



                                     )



      Respondent.                    )




                    REPORT AND RECOMMENDATION

      Convicted and sentenced after a jury trial for his participation in a

drug distribution conspiracy, does. 754, 755, 1 Rodney L. Scott moves

under 28 U.S.C. § 2255 to have his sentence reduced from life

imprisonment. Does. 1149 & 1151. The Government filed a response

and Scott filed a reply. Does. 1245, 1271. Review of the parties'

briefing shows that Scott's motion must be denied.

A. Background

      Movant was charged with conspiring to possess with intent to

distribute 280 grams or more of cocaine base, five kilograms or more of




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 The Court is citing to the criminal docket in CR612-018 unless otherwise noted,
and all page numbers are those imprinted by the Court's docketing software.
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cocaine hydrochloride, and quantities of ecstasy and marijuana (Count

1), plus three counts of using a communication facility (telephone) to

facilitate the conspiracy (Counts 39, 65 & 106). Doc. 3.

        Scott and one of his co-defendants proceeded to trial and were

found guilty on every count. Docs. 754 & 755. As part of a special

verdict form, the jury also found that Scott and his co-defendant had

conspired to distribute 280 grams or more of cocaine base and five

kilograms or more of cocaine hydrochloride.          Id.   Prior to trial, the

Government had filed a 21 U.S.C. § 851 notice of its intention to seek

enhanced penalties based on Scott's prior felony drug convictions, thus

subjecting him to a mandatory life sentence. Doc. 709; see 21 U.S.C.

§§ 841(b)(1)(A), 846. The Court, however, granted the Government's

motion to withdraw the notice prior to sentencing, thus reducing Scott's

exposure to the unenhanced penalty -- 10 years to life. Docs. 983; 984

at 5.

        Scott's Presentence Investigative Report added nine points to his

drug-offense Guideline level of 32 -- two for the possession of a firearm,

two for the maintenance of a residence for the purpose of manufacturing

and distributing crack cocaine, two for the commission of the offense as

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part of a criminal livelihood, three for an aggravating role, and two for

obstruction of justice -- for a total offense level of 43. PSR at ¶J 33-43.

Because Scott's criminal history placed him within category III under

the Guidelines, the advisory range of imprisonment was life

imprisonment. Id. at ¶ 55 (prior convictions scoring six criminal history

points under the Guidelines); ¶ 78 (life imprisonment advised for total

offense level of 43 and criminal history category III). Scott objected

only to the three-level aggravating role adjustment, Id., Addendum at 1,

which the Court overruled after a hearing. Doe. 984 at 18. It sentenced

him to life imprisonment. Id. at 19-25.

     Scott appealed, arguing, Inter alla, that (1) insufficient foundation

existed for the admission of certain wiretapped telephone conversations;

(2) a law enforcement agent improperly testified as an expert at trial;

(3) his prior drug convictions were improperly admitted at trial; (4) his

drug-related tattoos were improperly admitted at trial; and (5) he

should not have received a three-level aggravating role adjustment.

Doe. 1078; United States v. Stanton, 589 F. App'x 477 (11th Cir. 2014).

After briefing and oral argument, the Eleventh Circuit affirmed his

conviction. See Id. Upon Scott's pro so motion for a reduced sentence

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under 18 U.S.C. § 3582(c)(2), the Court granted a two-level offense level

reduction and reduced his sentence from life imprisonment to 360

months' imprisonment. Does. 1107 & 1128. He then filed the instant

§ 2255 motion, seeking to overturn his remaining sentence. Does. 1149

& 1151.

B. ANALYSIS

      Scott presents three grounds for relief: (1) "prosecutorial

misconduct" and "malicious prosecution," (2) errors by the district court,

and (3) ineffective assistance of counsel during trial and appeal.

Doe. 1151.

      1.     The Ippolito Factor

      Scott contends that the lead prosecutor in his case, former

Assistant United States Attorney Cameron Ippolito, engaged in

extracurricular prosecutorial misconduct 2 and malicious prosecution,

adversely affecting his sentence. Doe. 1151 at 40.

      Misconduct claims justify relief on collateral review if the

prosecutor's actions rendered the proceedings "so fundamentally unfair


2
 Ippolito "engaged in an improper relationship" with former Alcohol Tobacco and
Firearms Agent Lou Valloze that tarnished several convictions and sentences
unrelated to Scott's. In re Ippolito, 2015 WL 424522 at * 1 (S.D. Ga. Jan. 30, 2015).
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as to deny him due process." Davis v. Zant, 36 F.3d 1538, 1545 (11th

Cir. 1994). Movants thus must show that there is "a reasonable

probability that the outcome was changed" by the prosecutor's actions.

Id.

         Scott falls short of meeting that burden. Regardless of what

Ippolito did in her private life with Agent Valoze and how it may have

impacted the outcome of other cases, Scott's case had absolutely nothing

to do with Agent Valoze. Valoze was not involved in the Government's

investigation or prosecution of Scott in any way, and did not testify in

any matter related to Scott.         See Ippolito, 2015 WL 424522. Nothing

about the Ippolito-Valoze affair could have been used at trial to cross-

examine or impeach any witness. 3



  Scott links nothing to the "tainted" facts revealed by the Government:
      (1) that Assistant United States Attorney Cameron Ippolito and ATF Special
      Agent Lou Valloze engaged for years in an affair; (2) that Agent Valoze,
      assisted by AUSA Ippolito, provided potentially false or misleading
      information to a government agency to secure a visa for a government
      informant; and (3) that Agent Valoze, under questioning by AUSA Ippolito
      during a criminal trial, provided potentially false or misleading testimony
      regarding benefits provided to that government informant.
Ippolito, 2015 WL 424522 at * 2; see also id. ("In every case from 2009 to the present
in which Valoze testified in a contested hearing, including trial, sentencing, or an
evidentiary hearing on a suppression or other pretrial motion, from the inception of
the affair to the present, the government intends to disclose the fact of the affair to
defense counsel. In those contexts, Valoze's testimony arguably was material to guilt
or punishment, and the affair could have been a viable subject of cross-examination
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      Scott contends that Ippolito and Valoze "conco[c]ted multiple cases

as a unit" (doe. 1149 at 40) and that the testifying agent in his case,

Agent Kevin Waters, was friends with Valoze (doe. 1271 at 20-21), ergo

they must have colluded in some unidentifiable but meaningful way.

He offers, however, absolutely no evidence above mere conjecture of any

"spill-over behavior" that even tangentially connects the affair (or

friendship) to his case -- much less that the proceedings against him

were rendered "so fundamentally unfair as to deny . . . due process" or

that, had he known of the affair, there was a "reasonable probability" of

a different trial outcome. Davis, 36 F.3d at 1545.

      Scott also alleges that the Government's dismissal of charges

against some defendants, who had been misidentified on recorded



into his bias."). Again, Valloze was not involved with Scott's case at any point of the
investigation or prosecution, and never testified at his trial. Movant's specious
allegation that Ippolito's "love affair tainted her hindsight" so that "she trusted the
evidence" "without investigation or ignoring the investigation and innocence of
defendant" is just that: specious. Hogwash. Doc. 1271 at 20. The Ippolito-Valoze
affair is completely irrelevant to Scott's incarceration.
    Even if the Court assumed that contemporaneous knowledge of Ippolito's affair
would have utterly destroyed her credibility at sentencing, Ippolito never testified.
Her credibility has no relationship to the testifying witnesses and even if it did, one
mitigating witness who gave testimony of questionable value likely would not have
made a difference when stacked against the criminal history and offense severity
facing Scott. That quantum of evidence certainly isn't enough to show "a reasonable
probability that the outcome was changed" by Ippolito's presence at sentencing.
Davis, 36 F.3d at 1545.
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telephone calls, was reversible error. Doc. 1149 at 40-41. But there is

no evidence whatsoever that Scott was misidentified in the phone calls.

It cannot be malicious prosecution to dismiss charges against an

incorrectly identified defendant while pursuing charges against one

correctly identified and inculpated by substantial circumstantial

evidence. That is the essence of responsible, ethical prosecution.

     2.    Ineffective Assistance of Counsel

     In his second claim, Scott argues that Ryan Babcock, his trial

counsel, was ineffective for (1) failing to better argue pre-trial motions

and trial objections; (2) failing to move for acquittal based on

insufficient evidence against him; (3) failing to request certain jury

instructions on conspiracies and buyer-seller relationships; (4) failing to

object to a variance between the indictment and proof offered at trial;

(5) failing to present evidence of drug sales to a different, unindicted co-

conspirator; (6) failing to object to "hearsay" testimony; (7) failing to

object to Agent Waters' testimony, and (8) failing to raise claims on

direct appeal. See docs. 1149, 1151 & 1271.

     "To prevail on a claim of ineffective assistance of counsel, a

prisoner must prove that his counsel rendered deficient performance

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and that he was prejudiced by the deficient performance."        Castillo v.

United States, 816 F.3d 1300, 1303 (11th Cir. 2016) (citing Strickland v.

Washington, 466 U.S. 668, 687 (1984)). In evaluating adequacy of

performance, "counsel is strongly presumed to have rendered adequate

assistance and made all significant decisions in the exercise of

reasonable professional judgment."        Strickland, 466 U.S. at 690. "For

performance to be deficient, it must be established that, in light of all

the circumstances, counsel's performance was outside the wide range of

professional competence." Putman v. Head, 268 F.3c1 1223, 1243 (11th

Cir. 2001).

     As to the prejudice prong, the prisoner must show "that there is a

reasonable probability that, but for counsel's unprofessional errors, the

result of the proceeding would have been different."        Strickland, 466

U.S. at 694; Matire v. Wainwright, 811 F.2d 1430, 1434 (11th Cir. 1987)

(same); see also Butcher v. United States, 368 F.3d 1290, 1293 (11th

Cir. 2004) ("[A]ttorney errors come in an infinite variety and are as

likely to be utterly harmless in a particular case as they are to be

prejudicial. That the errors had some conceivable effect on the outcome

of the proceeding is insufficient to show prejudice.").

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               i.    Motions and Objections

      Scott complains that his attorney should have convinced the Court

to sever his trial from that of his co-defendant and to exclude evidence

of his tattoos and prior convictions. Doe. 1149 at 1. Babcock did swing

that bat. See does. 696 (motion for severance), 733 (moving in limine to

exclude evidence of prior drug convictions) & 736 (moving in limine to

exclude evidence of drug-related tattoos). The Court considered and

denied all three motions.        See does. 724 & 726 (severance), 740 (prior

convictions and tattoos); see also Stanton, 589 F. App'x at 478 (finding

no error in trial court's admission of evidence of prior convictions and

tattoos). As the Government notes, the mere fact "that this Court

disagreed with Scott's attorney and denied his motions and objections

does not render [his] performance deficient under Strickland"                Doe.

1245 at 8. And even assuming that somehow Babcock's performance

was deficient, movant has not demonstrated any TAC-level prejudice

suffered from the Court's denial of these motions. See does. 1149, 1151

& 1271. At best he indicates a conceivable, but not outcome-altering,

effect.

      Counsel also sought severance of his trial from his co-defendant

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Terrance Stanton's -- on the possibility that Stanton might provide

exculpatory testimony critical to Scott's defense. Doc. 696. The Court

denied that motion because there was no proof Stanton would in fact do

SO.   Does. 724 & 726. Now Scott has an affidavit from Stanton saying

he would have done so, see doe. 1159 at p. 68, but no actual offer was

made at the time. It is unclear how movant believes his counsel was

ineffective for not pushing harder for severance without any basis for it.

See Jones v. Barnes,            463 U.S. 745, 751 (1983) (there is no

"constitutional right to compel appointed counsel to press nonfrivolous

points").-5

       Scott's attorney also tried to exclude probative, but prejudicial,

evidence of his prior drug convictions and drug-related tattoos.

Does. 736 & 737. In denying those motions, the Court agreed with the


    Even had Stanton so offered, it is far from certain severance would have been
granted. His affidavit disclaims any connection to or knowledge about Scott and his
alleged drug activities, and fails to inculpate himself in any way. Doc. 1151 at 65-68.
Testimony that is self-serving, rather than contrary to one's own interest, is not the
sort of testimony that fetches severance. United States v. Green, 818 F.3d 1258,
1280-81 (11th Cir. 2016) ("[S]tatements concerning the [codefendant's] testimony
that would become available by severing trials must be specific and exonerative,
rather than conclusory or self-serving, in order to justify severance. . .
[A] codefendant's proffered testimony. . . is of dubious creditability when it [us in no
way contrary to [his] own interests."); id. at 1282 (a codefendant's "conclusory and
self-serving" claim that "neither he nor [defendant] had conspired to distribute
controlled substances illegally . . . is not the kind of testimony that warrants
severance.").
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Government that convictions demonstrating that "Scott possessed and

sold drugs [at] the same time and place he was charged with being a

member of a drug conspiracy was probative evidence, especially given

his apparent defense at trial that he was mistakenly connected to the

charged conspiracy." Doc. 1245 at 13 (quoting United States v. Ruis-

Chavez, 612 F.3d 983, 986 (8th Cir. 2010) (no error from introduction of

defendant's past arrest during charged methamphetamine conspiracy

where defense "was that he was simply in the wrong place at the wrong

time and . . . [not] involved with a drug distribution ring" and arrest,

involving methamphetamine and substantial amount of currency,

"indicated that the opposite was true") and United States v. Ramsdale,

61 F.3d 825, 830 (11th Cir. 1995) (evidence of methamphetamine,

money, and guns found in defendant's automobile was admissible

evidence "inextricably intertwined" with his "role in the charged

offense")). And despite Babcock's motion and renewed objection at

trial, the Court agreed with the Government that evidence of his tattoos

was not unduly prejudicial. Doc. 740; see Stanton, 589 F. App'x at 478

(affirming trial court's decision).

      Because the Court's denial of his motions and objection were

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correctly decided, Scott cannot demonstrate any prejudice suffered for

his counsel's alleged failure to somehow better argue them.

             ii.    Acquittal

      Scott contests that his attorney was ineffective for failing to file a

Fed. R. Crim. P. 29 motion for judgment of acquittal because there was

insufficient evidence against him. Because such a motion would have

been meritless, 8 Babcock was not ineffective for failing to make it.

Jones, 463 U.S. at 751.

             iii.   Jury Instructions

      Scott contends that his attorney failed to ask the Court to instruct

the jury on the difference between single and multiple conspiracies and

on the insufficiency of a buyer-seller relationship to establish

participation in a conspiracy. Doc. 1151 at 14-15. However, he was not

entitled to an instruction on multiple conspiracies because there was



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  Fed. R. Cr. P. 29 motions may be granted only if "no reasonable trier of fact could
find guilt beyond a reasonable doubt." United States v. Farley, 607 F.3d 1294, 1333
(11th Cir. 2010). Here, a slew of testimony, multiple wiretaps, and other evidence
were offered to demonstrate that Scott was involved in the manufacture and
distribution of crack cocaine. See does. 1291 at 6-11, 17-22, 52-55, 59-61, 79, 81-83,
94-95, 98-99, 104; doe. 1292 at 348, 355-60, 392-93. The plethora of evidence
assembled against him could well have convinced a reasonable juror of his guilt,
Scott's base denials of its sufficiency notwithstanding.       See United States v.
Emmanuel, 565 F.3d 1324, 1333 (11th Cir. 2009).
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only one coordinated effort to sell crack cocaine between Scott and his

coconspirators -- nothing offered at trial suggested the existence of more

than one drug conspiracy.     See United States v. Calderon,      127 F.3d

1314, 1328-29 (11th Cir. 1997) (a multiple conspiracy instruction is

required where "there proof at trial indicates that a jury could

reasonably conclude that some of the defendants were only involved in

separate conspiracies unrelated to the overall conspiracy charged in the

indictment."). And, regardless, Scott's entire defense hinged on an

assertion he was unconnected to any conspiracy -- a jury instruction

indicating he was a member of some other conspiracy would have done

him no favors. See Williamson v. Moore, 221 F.3d 1177, 1180 (11th Cir.

2000) ("Constitutionally sufficient assistance of counsel does not require

presenting an alternative -- not to mention unavailing or inconsistent --

theory of the case."). See also doc. 1233 at 6 (the Court charged the jury

to "determine from the evidence in this case whether the defendants are

guilty or not guilty of those specific crimes" "charged in the indictment"

and no others).

     He also was not entitled to a buyer-seller instruction, which

applies only to isolated transactions where "the buyer's purpose is

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merely to buy, and the seller's purpose is merely to sell, and no prior or

contemporaneous understanding exists between the two beyond the

sales agreement[.]"   United States v. Beasley, 2 F.3d 1551, 1560 (11th

Cir. 1993). No reasonable juror could have looked at the content of the

ongoing conversations between Scott, his buyer Mingo, and codefendant

Stanton and concluded that this was a one-off. The jury heard

conversations where Stanton agreed to provide drugs for resale by

Scott, where they commiserated about the fates and loyalties of their

associates, and where Mingo sought permission and direction from

Scott on pricing of product. Doc. 924 at 81-82, 94-95, 98-99, 104. Scott's

protests that he was misidentified (because, he claims, he only ever sold

drugs on a personal basis) notwithstanding, sufficient evidence

supported the jury's finding that this was more than an isolated

instance. Too, the Court addressed any concerns by instructing the jury

that "simply being present at the scene" or "associating with certain

people in discussions, common goals and interests doesn't establish

proof of a conspiracy." Doc. 1233 at 9-10; see United States v. Russell,

378 F. App'x 884, 888 (11th Cir. 2010).




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           iv. Variance

     Scott also faults counsel for failing to object to a purported

variance between the indictment's charged conspiracy and the

conspiracy proved at trial. Doc. 1151 at 23-29. Babcock, however,

cannot be found to have deficiently performed by making a frivolous

argument. Jones, 463 U.S. at 754. A reversible variance exists where a

reasonable jury could not have found the single conspiracy charged in

the indictment based on the proof offered at trial establishing several,

separate conspiracies.   See United States v. Calderon, 127 F.3d 1314,

1327 (11th Cir. 1997). As discussed above, there was no trial evidence

of multiple conspiracies. Babcock thus could not have in good faith

argued variance.

           V.    Agent Waters

     Scott argues that Agent Waters -- who had 18 years of law

enforcement experience and had participated in hundreds of debriefings

of drug dealers, developing a specialized knowledge of street-level drug

distribution, tools of the drug trade, and drug code language (see doc.

703 at 2-3) -- was not qualified to testify as an expert. Doc. 1151 at 29-

33. Thus, Babcock was deficient for failing to object to the admission of

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his testimony. Id. However, given Agent Waters' breadth of experience

and the contents of the recorded conversations played for the jury, 7 such

an objection would have been frivolous.                   See United States v.

Emmanuel, 565 F.3d 1324, 1335 (11th Cir. 2009) (finding 110 error

where an officer with 15 years' experience and a background in

analyzing code words testified as a Fed. R. Civ. P. 702 expert on the

"operations of narcotics dealers, including drug codes and jargon").

      Even if Agent Waters' testimony sometimes "went beyond

interpreting code words to interpret conversations as a whole," this at

most had a negligible effect upon the outcome. As discussed above, the

jury was presented with a trove of evidence, testimony, and wiretapped

conversations on which to base their decision on his guilt. See doe. 1291

at 6-11, 17-22, 52-55, 59-61, 79, 81-83, 94-95, 98-99, 104; doe. 1292 at

348, 355-60, 392-93.       Emmanuel, 565 F.3d at 1336 ("Even if none of

Sergeant Woodside's expert testimony was admissible, the jury could



    In those conversations, the participants - including Scott - discussed "flow,"
"catching a play," "fronting," "feral," "slabs," "piecing out," "ittles," "circles,"
"weight transactions," "girl," "vick," "rips," "testing," "dropping," "dumb," "bedding
down," "groovin it," "grinding it," "four-way," "9s," "stupid sack," "plays," "toolie,"
"four-fifths," "chopper," "the man," "iron," "jigged," "joogs." ([Doc. 924] at 75-76,
78- 79, 81-83, 86-87, 89-91, 93-95, 102-05.)
Doc. 1245 at 25.
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have easily interpreted the recorded conversations as involving drugs

based on other evidence in the case, including actual seizures of drugs

and drug money and testimony from coconspirators. Considering the

substantial evidence against [defendant], Sergeant Woodside's opinion

testimony that went beyond interpreting drug codes and jargon was

merely cumulative and was not essential to the jury's verdict.").

Because any objection to Agent Waters' testimony would have been

frivolous, and the admission of his expert testimony was merely

cumulative and nonessential to the jury's verdict, counsel was not

ineffective for failing to object to it.

            vi. Other Evidence

      Scott also faults counsel for failing to contradict witness Hawkins'

testimony by presenting evidence that actually he sold drugs to a

different person ("Treyvon"). Doe. 1151 at 25. In addition to being

unsupported by anything beyond his own statement that this is             SO,


Scott offers absolutely no argument indicating how counsel's failure to

substitute evidence of sales to one buyer with evidence of sales to

another in any way prejudiced his case. See id.

      Movant further contends his counsel failed to object to some

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"hearsay" testimony, but he fails to actually specify what that is.

Doc. 1151 at 27. Assuming that he objects to Hawkins' testimony as

hearsay, he does not specify what part of that testimony was hearsay.

See Id.   As best the Court can discern, Scott specifically objects to

Hawkins' testimony, regarding his knowledge of the other co-

conspirators, because he admitted he didn't have knowledge about some

of their illegal activities. Id. But a witness' admission that he does not

know something does not transform his entire testimony into

inadmissible hearsay, so movant cannot possibly find relief here.

           vii. Direct Appeal

     Finally, Scott argues that Babcock failed to raise certain

arguments on appeal, which would have certainly resulted in a more

favorable disposition. Doc. 1151 at 34-39. The constitutional right to

appellate representation, however, does not include a right to present

frivolous arguments to the court.         McCoy v. Court of Appeals of

Wisconsin, Dist. 1, 486 U.S. 429, 436 (1988); Jones, 463 U.S. at 754

("Nothing in the Constitution or our interpretation of that document

requires" an appellate attorney "to raise every 'colorable' claim

suggested by a client."). The appellate "attorney need not advance

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every argument, regardless of merit, urged by the appellant . . . ."

Evitts v. Lucey, 469 U.S. 387, 394 (1985).

          Scott complains about Babcock's decision to refrain from raising a

litany of "issues of plain error" -- including "lack of jurisdiction, "lack of

prosecution," and something about "the trial court's intervening into the

trial."        See doe. 1151 at 34-35.   At best, movant is lobbing wishful

thinking here.

          3.     District Court Errors

          Scott argues that the Court made "numerous" errors that

"accumulated to [his] being denied a fair and just criminal proceeding,"

including: (1) admitting evidence of his tattoos and prior convictions (to

prove his bad character and "taint" the jury); (2) allowing Agent Waters

to testify as an expert on his interpretation of "decoded language" and

"drug jargon" and "the breakdown of drugs as being cocaine or crack;"

(3) the Court's interference during the trial (apparently in overruling or

sustaining objections from counsel and in informing the jury and

counsel that the presiding judge had a funeral to attend); (4) failing to

give the jury certain instructions on conspiracies and buyer-seller

relationships; and (5) imposing an unreasonable sentence under the

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Guidelines. Doe. 1149 at 43-49.

     A prisoner seeking collateral relief "must clear a significantly

higher hurdle than would exist on direct appeal."         United States v.

Frady, 456 U.S. 152, 166 (1982). Generally, where a movant seeks

collateral relief based on trial errors to which no contemporaneous

objection was made at trial, Id. at 167-68, or on direct appeal, "it will be

procedurally barred in a § 2255 challenge."     United States v. Montano,

398 F.3d 1276, 1279-80 (11th Cir. 2005). (citing Mills v. United States,

36 F.3d 1052, 1055 (11th Cir. 1994)). "A ground of error is usually

'available' on direct appeal when its merits can be reviewed without

further factual development." Mills, 36 F.3d at 1055. In other words, a

movant may not use his collateral attack as "a surrogate for a direct

appeal." Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004)

(cite omitted). To excuse the procedural bar, a § 2255 movant must

"demonstrate a cause for [his] default and show actual prejudice

suffered as a result of the alleged error." Montano, 398 F.3d at 1280.

     Scott's first and second claims that the Court improperly

introduced evidence of his tattoos and prior convictions and allowed

Agent Waters to testify -- already raised and rejected on appeal, see

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Stanton, 589 F. App'x 477 -- are foreclosed. Stoufflet v. United States,

757 F.3d 1236, 1239 (11th Cir. 2014); United States v. Nyhuis, 211 F.3d

1340, 1343 (11th Cir. 2000); Mills, 36 F.3d at 1056. And because his

third, fourth, and fifth alleged "errors" were not raised on appeal, they

too are procedurally barred. His associated, meritless IAC claims do

not overcome that bar. Montano, 398 F.3c1 at 1280; Lynn, 365 F.3c1 at

1232.

C. CONCLUSION

        Accordingly, Rodney Scott's § 2255 motion should be DENIED.

Applying the Certificate of Appealability (COA) standards set forth in

Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9,

2009), the Court discerns no COA-worthy issues at this stage of the

litigation, so no COA should issue either. 28 U.S.C. § 2253(c)(1); Rule

11(a) of the Rules Governing Habeas Corpus Cases Under 28 U.S.C.

§ 2255 ("The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.")

(emphasis added). Any motion for leave to appeal in forma pauperis

therefore is moot.




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      This Report and Recommendation (R&R) is submitted to the district

judge assigned to this action, pursuant to 28 U.S.C. § 636(b)(1)(B) and this

Court's Local Rule 72.3. Within 14 days of service, any party may file

written objections to this R&R with the court and serve a copy on all

parties. The document should be captioned "Objections to Magistrate

Judge's Report and Recommendations." Any request for additional time to

file objections should be filed with the Clerk for consideration by the

assigned district judge.

     After the objections period has ended, the Clerk shall submit this

R&R together with any objections to the assigned district judge. The

district judge will review the magistrate judge's findings and

recommendation pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

rights on appeal. 11th Cir. R. 3-1; see Symonett v. VA. Leasing Corp., 648

F. App'x 787, 790 (11th Cir. 2016); Mitchell v. U.S., 612 F. App'x 542, 545

(11th Cir. 2015).

      SO REPORTED AND RECOMMENDED, this 9th                                day of

January, 2017.



                                          UNITED STATES MAGISTRATE JUDGE
                                          SOUTHERN DISTRICT OF GEORGIA

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